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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                             June 21, 2024
              IN THE UNITED STATES DISTRICT COURT FOR THE                 Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION

PATRICIA E. NIELSEN; and                   §
BACK OFFICE BRAINS, INC.,                  §
                                           §
            Plaintiffs,                    §
                                           §
            v.                             §
                                           §
UNITED STATES OF AMERICA,                  §
                                           §
            Defendant.                     §
                                           §
UNITED STATES OF AMERICA,                  §   CIVIL ACTION NO. 7:21-cv-328
                                           §
            Counterclaim Plaintiff,        §   Consolidated Lead Case
                                           §
            v.                             §
                                           §
PATRICIA E. NIELSEN;                       §
CORPORATE SOLUTIONS, INC.;                 §
WELLS FARGO BANK, N.A.;                    §
PABLO “PAUL” VILLAREAL, JR.,               §
In his official capacity as Hidalgo County §
Tax Assessor-Collector; and                §
FROST NATIONAL BANK,                       §
                                           §
            Counterclaim-Defendants.       §
GOOD DIRECTIONS, LLC; and                  §
NIELSEN JOHNSON INVESTMENTS, LLC, §
                                           §
            Plaintiffs,                    §
                                           §   CIVIL ACTION NO. 7:21-cv-330
            v.                             §
                                           §   Member Case
UNITED STATES OF AMERICA,                  §
                                           §
            Defendant.                     §




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 UNITED STATES OF AMERICA,         §
                                   §
         Counterclaim Plaintiff,   §
                                   §
         v.                        §
                                   §
 GOOD DIRECTIONS, LLC;             §
 NIELSEN JOHNSON INVESTMENTS, LLC; §
 CORPORATE SOLUTIONS, INC.;        §
 PATRICIA E. NIELSEN;              §
 LESLEY A. WATKINS;                §
 LYNNE M. WATKINS; FROST BANK;     §
 ZACMA, LTD.; PNC BANK, N.A.;      §
 VANTAGE BANK TEXAS;               §
 HIDALGO COUNTY TAX COLLECTOR; and §
 CAMERON COUNTY TAX COLLECTOR. §
                                   §
         Counterclaim Defendants.  §

                     ORDER OF SALE AND APPOINTING RECEIVER

       The United States filed its counterclaims in the above-captioned case seeking to obtain a

money judgment against Counterclaim Defendant Corporate Solutions, Inc. (“CSI”) for the

outstanding balance of the unpaid federal employment and unemployment tax liabilities assessed

against CSI for certain tax periods between 2008 and 2014 and to enforce its federal tax liens

relating to CSI’s unpaid tax liabilities through foreclosure and sale of certain real properties titled

in the name of Counterclaim Defendants Patricia Nielsen (“Nielsen”), Nielsen Johnson

Investments, LLC (“NJI”), and Good Directions, LLC (“Good Directions”).

       On May 21, 2024, this Court entered an agreed judgment in favor of the United States

and against CSI for the outstanding balance of CSI’s unpaid federal employment and

unemployment tax liabilities totaling over $5.3 million as of January 29, 2024. ECF No. 104 ¶¶

3, 4. This Court determined that NJI holds title, as CSI’s nominee, to the real property located at

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222 W. Esperanza, South Padre Island, Texas 78597 (“the Esperanza Property”), which is more

fully described as follows:

        Lot number four (4), block number one hundred twenty-three (123), Padre Beach
        Section VIII, a subdivision in the town of South Padre Island, Cameron County,
        Texas, according to map recorded in volume 15, page 27, map records of
        Cameron County, Texas.

Id. ¶ 5. This Court further determined that federal tax liens arose against CSI for its unpaid

federal employment and unemployment tax liabilities and that such liens attach to all property

and rights of property of CSI, including CSI’s rights and interests in the Esperanza Property. Id.

¶ 6. This Court ordered that “[t]he United States is permitted to sell the Esperanza Property using

a receiver pursuant to an order of sale to be entered by the Court upon motion by the United

States.” Id. ¶ 7.

        Before this Court is the United States’ Unopposed Motion for Entry of Order of Sale and

Order Appointing Receiver. Upon consideration of the record in this case, the United States’

motion, the agreed final judgment (ECF No. 104), and for good cause shown, it is hereby

ORDERED that the United States’ Motion for Entry of Order of Sale and Order Appointing

Receiver is GRANTED.

        IT IS FURTHER ORDERED THAT:

        1.      Bruno Zavaleta III is appointed as receiver (“the Receiver”) to enforce the federal

tax liens against the Esperanza Property pursuant to 26 U.S.C. §§ 7402(a), 7403(d). The

Receiver’s address for communication purposes is: 1175 W. Price Road, Suite 5, Brownsville,

Texas 78520.




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       2.      The Receiver is directed to take possession of, preserve and protect, and arrange

for the marketing and sale of the Esperanza Property in a timely manner. The Receiver shall have

free and unrestricted access to the Esperanza Property. The Receiver has the authority to arrange

for the sale of the Esperanza Property, subject to approval by this Court, in any manner approved

by the United States. The closing shall not occur until after the sale of Esperanza Property has

been approved by further order of this Court. The terms of any purchase agreement must include

the balance of the purchase price paid in cash at closing and may include an earnest money

deposit in an amount to be approved by the United States forfeitable on the purchaser’s failure to

perform. At closing, the purchaser or purchasers will receive the appropriate transfer documents

or Receiver’s deed to the Esperanza Property executed by the Receiver.

       3.      The Receiver shall have all the rights and powers necessary to fulfill his

obligations under this Order, specifically including, but not necessarily limited to, the power to

enter onto the Esperanza Property, to manage the Esperanza Property, to advertise the sale of the

Esperanza Property, to put the Esperanza Property into saleable condition, and to take any action

reasonably necessary to protect and preserve the value of the Esperanza Property prior to sale.

When executing his powers, the Receiver may make expenditures that are first approved by the

United States for reasonable and necessary maintenance and improvements, including, but not

limited to, the purchase of property and liability insurance.

       4.      NJI, Nielsen, and CSI and their agents, employees, accountants, attorneys, and

representatives are hereby ordered to cooperate with the Receiver and provide requested

information to him to allow him to carry out his duties under this Order, including providing




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notice of this Order to any current occupants of the Esparanza Property within 3 business days of

its entry.

        5.     The Esperanza Property shall be offered for sale “as is,” with all faults and

without any warranties either express or implied, and the sale shall be made without any right of

redemption.

        6.     Unless extended in writing by the United States, all persons occupying the

Esperanza Property in any manner shall leave and vacate the Esperanza Property permanently by

no later than 15-days of service of this Order (the Vacate Date), each taking his or her personal

property, but leaving all improvements, buildings, fixtures, and appurtenances to the Esperanza

Property. If any person fails or refuses to vacate the Esperanza Property by the Vacate Date, the

Receiver is authorized to coordinate with the United States Marshal to take all actions that are

reasonably necessary to have those persons ejected or excluded. The United States Marshal

Service is authorized and directed to take all necessary actions, including but not limited to the

use of reasonable force, to enter and remain on the premises, the land, the buildings, vehicles,

and any structures located thereon, for the purpose of executing this Order. The United States

Marshal Service is further authorized and directed to arrest or evict from the premises all persons

who obstruct, attempt to obstruct, interfere, or attempt to interfere in any way with the execution

of this Order. Any attempt to reenter the Esperanza Property after the Vacate Date could subject

that person to being found in contempt of the Court, and such contempt could be punishable by a

fine, incarceration, or both. Service of this Order will be provided to all persons occupying the

Esperanza Property by hand delivery or by leaving it in a prominent location at the Esperanza

Property.

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       7.      Until they vacate the Esperanza Property, all persons occupying the Esperanza

Property will take reasonable steps necessary to preserve the Esperanza Property (including all

buildings, improvements, fixtures, and appurtenances to the Esperanza Property) in its current

condition. They will not commit waste against the Esperanza Property, nor shall they cause or

permit anyone else to do so. They will not do anything, which tends to reduce the value or

marketability of the Esperanza Property, nor will they cause or permit anyone else to do so. They

will not record any instruments or liens against the Esperanza Property, publish any notice, or

engage in any other action (such as running newspaper advertisements) that may directly or

indirectly tend to adversely affect the value of the Esperanza Property, nor will they cause or

permit anyone else to do so.

       8.      If any person fails or refuses to remove his or her personal property from the

Esperanza Property by the Vacate Date, the personal property remaining on the Esperanza

Property thereafter is deemed abandoned, and the Receiver is authorized to remove it and to

dispose of it in any manner the Receiver sees fit, including sale or destruction without further

approval from this Court. The sale of such abandoned personal property shall be at the

Receiver’s discretion. The proceeds of any such sale are to be applied first to the expenses of sale

and the balance to be paid into the Court for further distribution.

       9.      Up until the date that this Court confirms the sales of the Esperanza Property, the

Receiver and his representatives are authorized to and shall have free and full access to the

Esperanza Property in order to take any and all actions necessary to preserve the Esperanza

Property, including, but not limited to, retaining a locksmith or other person to change or install

locks or other security devices on any part of the Esperanza Property.

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         10.   The Receiver shall set an initial listing price for the Esperanza Property and

inform the appearing parties of that price and may reduce the listing price as necessary in the

Receiver’s judgment. If the Receiver proposes to reduce the listing price for the Esperanza

Property, he shall inform the appearing parties and, within seven days of being so informed, if

any party that objects to the Receiver’s proposed reduction may file an objection. Any non-

objecting party may then file a response to the objection within seven days thereafter.

         11.   The Receiver, through the United States, is required to submit status reports to the

Court every ninety (90) days from the date of this Order until there is a final confirmation of

sale.

         12.   The Receiver shall be compensated from the proceeds of the sale of the Esperanza

Property (a) in an amount equal to six (6%) percent of the gross sale proceeds from the sale of

the Esperanza Property; or if there is another realtor who facilitates the sale of the Esperanza

Property, then the Receiver and the purchaser’s realtor shall each receive an amount equal to

three (3%) percent of the gross sale proceeds from the sale of the Esperanza Property; and (b) for

the reasonable and necessary expenditures to protect and preserve the value of the Esperanza

Property that were first approved by the United States.

         13.   The Receiver may be removed at any time by the Court, or upon the request of the

United States for cause, as approved by the Court, and a successor shall be named by the Court,

after notice to the United States and the other parties. In the event the Receiver resigns, the

Receiver shall first provide written notice to the United States, and such resignation shall not be

effective until the Court appoints a successor under such conditions as the Court may order.




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       14.      Within 5 days of entry of this Order of Sale and Order Appointing Receiver, the

Receiver shall post a copy of this order on the door and in the mailbox of the Esperanza

Property.

       15.      The Clerk of the District Court will accept the proceeds of any sale of the

Esparanza Property and deposit them into the Court’s interest-bearing registry account and hold

them until distribution is directed pursuant to further order of this Court.

       16.      After the Court confirms the sale of the Esperanza Property, the sale proceeds

deposited with the Clerk of this Court shall be distributed in the following order of priority:

       a. First, to pay the costs and expenses of the sale and the Receiver’s commission as set

             forth in this Order, including any costs and expenses incurred to secure and maintain

             the Esperanza Property;

       b. Second, to Cameron County Tax Assessor-Collector for any unpaid real property taxes

             that have accrued to the date of sale, including principal and accrued statutory interest;

       c. Third, to PNC Bank for the outstanding balance of its lien against the Esperanza

             Property as to the date of the sale;

       d. Fourth, to the United States to be applied to CSI’s unpaid tax liabilities identified in

             paragraphs 3 and 4 of the Agreed Partial Judgment (ECF No. 104); and

       e. Fifth, to NJI.

       17.      The Clerk of the Court shall immediately mail a copy of this Order to all counsel

and parties of record.




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       18.     The Court retains jurisdiction with respect to any matters addressed in this Order,

including, without limitation, any matters relating to or affecting the Receiver, lawsuits pertaining

to the Receiver, and the scope of authority granted the Receiver hereunder.


Signed this    21st    day of         June                    , 2024.




                                              DREW B. TIPTON
                                              UNITED STATES DISTRICT JUDGE




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